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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
    ___________________________________
                                        )
    IN RE: JOHNSON & JOHNSON            )
    TALCUM POWDER PRODUCTS              )
    MARKETING, SALES PRACTICES AND )      MDL Docket No. 2738
    PRODUCTS LIABILITY LITIGATION       )
                                        )
    ___________________________________ )

    DEFENDANT JOHNSON & JOHNSON’S OPPOSITION TO PLAINTIFFS’
      MOTION TO SEAL ACCOMPANYING EXHIBIT A TO PLAINTIFFS’
     STEERING COMMITTEE’S LETTER TO JUDGE MICHAEL A. SHIPP
                 AND JUDGE RUKHSANAH L. SINGH

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           Defendant Johnson & Johnson (“J&J”) opposes the Plaintiffs’ Motion to Seal

    the report of Professor Lynn Baker (“the Motion,” Dkt. 28031). Plaintiffs have not

    made and cannot make the requisite showing necessary to seal the document in

    question. J&J therefore respectfully requests that the Court deny the Motion.

                                       ARGUMENT

           “There is a presumption of access to judicial records.” Hart v. Tannery, 461

    F. App'x 79, 81 (3d Cir. 2012) (citing In re Cendant Corp., 260 F.3d 183, 194 (3d

    Cir. 2001). “[W]hile litigants have an interest in privacy, the public also has a right

    to obtain information about judicial proceedings.” Boehringer Ingelheim Pharma

    GmbH & Co. KG v. Mylan Pharms., Inc., No. CIV. 14-4727 NLH/KMW, 2015 WL

    4715307, at *2 (D.N.J. Aug. 7, 2015) (citing Pansy v. Borough of Stroudsburg, 23

    F.3d 772, 786 (3d Cir. 1995)). “In order to rebut the presumption of public access,

    the party seeking confidentiality must demonstrate ‘good cause’ by establishing that

    disclosure will cause a “‘clearly defined and serious injury to the party seeking

    closure.’” Id. (quoting Pansy, 23 F.3d at 786). “‘Broad allegations of harm,

    unsubstantiated by specific examples or articulated reasoning,” do not support a

    good cause showing.” Pansy, 23 F.3d at 786 (quoting Cipollone v. Liggett Group,

    Inc., 785 F.2d 1108, 1121 (3d Cir. 1986)); see also In re Cendant Corp., 260 F.3d at

    194.
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          Nothing in the PSC’s 17-line motion (Dkt. 28031) or 11-line certification (Dkt.

    28033) comes close to meeting this standard. The only justification they provide for

    sealing Professor Baker’s analysis is that it “states sensitive information . . . that the

    PSC believes should be under seal.” (Dkt. 28031 at 1.) This is merely an expression

    of subjective desire by the PSC, not a “broad allegation[] of harm, unsubstantiated

    by specific examples or articulated reasoning,” let alone a “clearly defined and

    serious injury.” For these reasons alone, the motion to seal should be denied.

          Moreover, the PSC’s claim that “the matters presented in the Declaration arise

    out of specific facts involving this case alone” such that “there is no public interest

    for having access to this information” is patently inaccurate. This Court instructed

    the parties to present their positions on whether conflicts of interest prevent the

    appointment of Hon. Freda L. Wolfson, U.S.D.J. (ret.), a former Chief Judge of this

    Court, from serving as a special master to address expert admissibility issues. (Dkt.

    27574 at 1.)

          The PSC has previously described Judge Wolfson’s extensive work on these

    key scientific and evidentiary issues as “masterful.” Transcript of Case Management

    Conference 9/6/23 at 12:9.      As the Court accurately observed, Judge Wolfson is

    “fully familiar” with the issues. Id. at 22:18. Judge Wolfson is a logical person to

    hear the issues and prepare a report and recommendation to Judge Shipp, something

    which will expedite the litigation.       The PSC has frequently spoken of their



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    responsibility to the over 30,000 plaintiffs to move the litigation quickly. The basis

    for their opposition to an appointment which could help achieve this goal is clearly

    a matter of public interest.

          According to the PSC’s Motion, “Professor Baker is an expert in legal ethics”

    and “[t]he Declaration contains Professor Baker’s analysis of the potential

    appointment of [Judge Wolfson].” (Dkt. 28031 at 1.) It is difficult to understand

    why the PSC felt the need to engage an “expert in legal ethics” if it felt that Judge

    Wolfson’s potential appointment presented well-worn legal issues that have already

    been addressed elsewhere and are of no interest to other litigants who might face this

    issue in the future. If the PSC felt the need to retain an expert to address this issue,

    it stands to reason that the issues involved here are not so dull or straightforward as

    to negate the policy rationale behind the public’s right to obtain information about

    judicial proceedings. On the contrary, the considerations involved in appointing a

    retired District Court judge as a special master to address issues over which she

    previously presided are clearly of interest not only to other litigants but to current

    judges, legal commentators, professors (like Professor Baker), and the public at large.

    For all of these reasons, the motion to seal should be denied.




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                                     CONCLUSION

          Plaintiffs have fallen well short of meeting their burden on the Motion to Seal.

    J&J respectfully requests that the Court deny the Motion (Dkt. 28031).

    Dated: September 20, 2023              Respectfully Submitted,

                                           s/Susan M. Sharko
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                             CERTIFICATE OF SERVICE

          I hereby certify that on September 20, 2023, I electronically filed the

    foregoing document with the Clerk of the Court using the CM/ECF system which

    will send notification of such filing to the CM/ECF participants registered to receive

    services in this MDL.

                                           Respectfully submitted,

                                           s/Susan M. Sharko
                                           Susan M. Sharko




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